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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 JAMES STOKES,                                        :
                                                      :   C.A. No.   1:19-cv-02014 LPS
                PLAINTIFF,                            :
                                                      :
                       v.                             :   TRIAL BY JURY OF TWELVE
                                                      :   DEMANDED
 MARKEL AMERICAN INSURANCE                            :
 COMPANY, a foreign corporation,                      :
                                                      :
                DEFENDANT.                            :

           DEFENDANT MARKEL AMERICAN INSURANCE COMPANY’S
     RESPONSES TO PLAINTIFF’S CONCISE STATEMENT OF UNDISPUTED FACTS

         COMES NOW Defendant, Markel American Insurance Company (“MAIC”) with its

 Responses to Plaintiff’s Concise Statement of Undisputed Material Facts in Support of his Motion

 for Summary Judgment.

                                          RESPONSES

         1.     It is undisputed that this action arises out of Defendant’s refusal to indemnify its

 longtime-insured, Mr. Stokes, for his sudden, accidental, and fortuitous Vessel loss that occurred

 on or about October 11, 2018, when Mr. Stokes’ 2017 Midnight Express 39’ with three (3) Seven

 Marine 627s engines sank in her slip in Bethany Beach, Delaware, upon the torrential rains of

 Hurricane Michael.

 RESPONSE: Disputed. MAIC disputes that Plaintiff’s loss was the result of a hurricane.

 Jonathon Klopman testified that the loss occurred when the storm was at tropical storm

 strength, not hurricane strength.1 Further, Plaintiff’s counsel has also admitted that at the




 1
  Exhibit 11 to MAIC’s Opening Brief – Deposition of Jonathon Klopman (“Klopman Dep.”), at
 65:24-66:10.


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 time of the loss, the wind and rain was no longer a hurricane, but a tropical storm.2 MAIC’s

 expert has opined that Plaintiff’s loss was caused by a combination of design defects,

 resulting in the sinking of the Vessel.3 Losses resulting from design defects are not covered

 losses under Plaintiff’s MAIC Policy,4 and therefore MAIC issued a “Notice of Disclaimer

 of Coverage” to Plaintiff on August 19, 2021.5

         2.    It is undisputed that Mr. Stokes’ Vessel was fully insured by Defendant via an “all-

 risk,” agreed $680,000 policy for the period commencing from October 20, 2017, to October 20,

 2018, bearing policy number MHP361698, effective and endorsed June 1, 2018. The Subject

 Policy is attached as Exhibit “B.”

 RESPONSE: Disputed. The Policy, and the coverage provided pursuant to it, speaks for

 itself and requires no characterization.

         3.    It is undisputed that on or about October 12, 2018, the day immediately following

 Mr. Stokes’ Hurricane Michael loss, Mr. Stokes timely provided notice of his loss. The Notice of

 Loss is attached as Exhibit “C.”

 RESPONSE: Disputed. MAIC disputes that Plaintiff’s loss was the result of a hurricane.

 Jonathon Klopman testified that the loss occurred when the storm was at tropical storm

 strength, not hurricane strength.6 Further, Plaintiff’s counsel has also admitted that at the

 time of the loss, the wind and rain was no longer a hurricane, but a tropical storm.7



 2
   Exhibit 9 to MAIC’s Opening Brief - Deposition or Robert Taylor (“Taylor Dep.”), at 41:6-12;
 Exhibit 11 to MAIC’s Opening Brief –Klopman Dep., at 65:24-66:10.
 3
   Exhibit 8 to MAIC’s Opening Brief - MAIC Expert Report by Robert Taylor.
 4
   Exhibit 6 to MAIC’s Opening Brief - Policy.
 5
   Exhibit A (attached to these responses)- Notice of Disclaimer of Coverage, dated August 19,
 2021.
 6
   Exhibit 11 to MAIC’s Opening Brief –Klopman Dep., at 65:24-66:10.
 7
   Exhibit 9 to MAIC’s Opening Brief - Taylor Dep., at 41:6-12; Exhibit 11 –Klopman Dep., at
 65:24-66:10.

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         4.     It is undisputed that the hurricane loss occurred during the active policy period.

 Deposition of Defendant’s Claims Adjuster, Justin Evenson (“Evenson Depo”), p. 38:2-4, is

 attached as Exhibit “D.”

 RESPONSE: Disputed. MAIC disputes that Plaintiff’s loss was the result of a hurricane.

 Jonathon Klopman testified that the loss occurred when the storm was at tropical storm

 strength, not hurricane strength.8 Further, Plaintiff’s counsel has also admitted that at the

 time of the loss, the wind and rain was no longer a hurricane, but a tropical storm.9

         5.     It is undisputed that Defendant assigned the loss claim number “18C40603” and

 does not dispute the date of loss, October 11, 2018. See id. at p. 32:1-2.

 RESPONSE: Undisputed.

         6.     It is undisputed that Defendant determined that Mr. Stokes did not make any

 misrepresentations when applying for insurance to protect the Vessel.

 RESPONSE: Disputed. MAIC contends that Mr. Stokes made a representation as to his

 warranty that the Vessel was seaworthy, because the design defects were present at the

 inception of the Policy and throughout the active policy period, it was not seaworthy.10

         7.     It is undisputed that there are no issues regarding the “navigational limits” of the

 Vessel at the time of the loss. Corporate Representative Depo, p. 54:11-17; id. p. 24:15-19.

 RESPONSE: Undisputed.

         8.     It is undisputed that Defendant and Defendant’s inspector confirmed the “extreme”




 8
   Exhibit 11 to MAIC’s Opening Brief – Klopman Dep., at 65:24-66:10.
 9
   Exhibit 9 to MAIC’s Opening Brief - Taylor Dep., at 41:6-12; Exhibit 11 to MAIC’s Opening
 Brief –Klopman Dep., at 65:24-66:10.
 10
    Exhibit 6 to MAIC’s Opening Brief - Policy; Exhibit 8 to MAIC’s Opening Brief -Taylor Report.

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 and torrential rains that led to the loss. Defendant’s surveyor, Jonathan Klopman, reported that “[a]

 thunderstorm passed through the marina between 11:00PM and midnight. The total rainfall for this

 time period was 7.29 inches. This is an extreme amount of rainfall by any measure.”4 See

 Klopman Report, p. 4 of 21, attached as Exhibit “E” (emphasis added).

 RESPONSE: Disputed. Mr. Klopman’s report does note that the rain was extreme,

 however, both Mr. Klopman and Robert Taylor have opined that the Vessel’s design defects

 caused the loss.11 In fact, Mr. Klopman’s report states that “[t]he loss was the direct result

 of improper design and construction.”12

          9.     It is undisputed that Mr. Kevin R. Brinson, PhD(c), the director of the Delaware

 Environmental Observing System (“DEOS”) and a Delaware Associate State Climatologist at the

 Office of the Delaware State Climatologist, confirmed the extensive and historic rainfall associated

 with Hurricane Michael. Mr. Brinson provided compiled datasets confirming extreme rain within

 a short period of time. See Delaware Rainfall Datasets, attached as Exhibit “G.”

 RESPONSE: Disputed. Mr. Brinson did compile datasets, but has provided no report

 analyzing the data. Thus, MAIC disputes any characterization of that data by Plaintiff.

          10.    It is undisputed that the subject “all-risks” insurance policy does not feature any

  “anti-concurrent cause” language, rendering any of Defendant’s purported “exclusions” or

  defenses futile. See Subject Policy, Ex. “B.”

 RESPONSE: Disputed. MAIC disputes this paragraph, because causation in maritime

 matters is governed by the Efficient Proximate Cause Doctrine, and not the Concurrent

 Causation Doctrine. Therefore, MAIC was not required to include “anti-concurrent cause”




 11
      Exhibit 8 to MAIC’s Opening Brief - Taylor Report.
 12
      Exhibit 3 to MAIC’s Opening Brief - Klopman Damage Survey, at MARKEL 000095.

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 language. This point is further discussed in MAIC’s Answering Brief in Opposition of

 Plaintiff’s Motion for Summary Judgment.

         11.    On November 12, 2018, after acceptance and payment of several invoices

  confirming coverage, Defendant sent a “reservation of rights” letter, indicating novel reasons that

  Defendant might try to use to reach its goal of denying coverage. See Correspondence, Ex. “F.”

 RESPONSE: Disputed. MAIC did send Mr. Stokes a Reservation of Rights letter on

 November 12, 2018. However, MAIC did not confirm coverage of Plaintiff’s claim at any

 time. The invoices paid by MAIC were paid directly to vendors, because Plaintiff refused to

 remit payment for invoices related to the salvage, towing, and storage of the Vessel.13 He

 allowed several invoices to fall into arrears, which would have prejudiced MAIC’s ability

 to investigate and obtain access to the Vessel.14 MAIC has neither conceded liability for

 Plaintiff’s loss, nor made any direct payments to Plaintiff for his claimed loss.

         12.    It is undisputed that Defendant made numerous payments on Plaintiff’s loss

  affirmatively confirming and affording coverage—including payments prior to the issuance of any

  purported reservation letter. See infra, Composite Ex. “H.”

 RESPONSE: Disputed. MAIC did send Mr. Stokes a Reservation of Rights letter on

 November 12, 2018. However, MAIC did not confirm coverage of Plaintiff’s claim at any

 time. The invoices paid by MAIC were paid directly to vendors, because Plaintiff refused to

 remit payment for invoices related to the salvage, towing, and storage of the Vessel.15 He

 allowed several invoices to fall into arrears, which would have prejudiced MAIC’s ability



 13
    See Exhibits H through K to Plaintiff’s Opening Brief in Support of his Motion for Summary
 Judgment.
 14
    Id.
 15
    See Exhibits H through K to Plaintiff’s Opening Brief in Support of his Motion for Summary
 Judgment.

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 to investigate and obtain access to the Vessel.16. MAIC has neither conceded liability for

 Plaintiff’s loss, nor made any direct payments to Plaintiff for his claimed loss.

          13.     Defendant’s letter attempting to “reserve rights” vaguely claims that “the Policy

  contains several general conditions as well as several specific exclusions that make your claim

  ineligible for coverage.” Id. at p. 1. Defendant points to policy provisions it may rely upon

  to attempt to avoid payment. Later in letter, Defendant claims, “[a]t this stage in our investigation

  we cannot yet determine whether coverage exists for this loss.” Id. at p. 3.

 RESPONSE: Disputed. MAIC’s Reservation of Rights letter speaks for itself. MAIC

 disputes Plaintiff’s characterizations of the letter.

          14.     Mr. Evenson, the drafter of Defendant’s “reservation” letter, conceded that he “did

  not have any evidence that it [the Vessel] would not be seaworthy.” Evenson Depo, p. 95:9-10.

 RESPONSE: Disputed. This testimony is provided without proper context. Mr. Evenson

 testified that he discussed the seaworthiness of the Vessel in the Reservation of Rights letter,

 because “this is, kind of, a weird event where a boat sinks at the dock” and he “wanted to

 call attention to the fact that it is possible that that vessel was not seaworthy at the time of

 the loss.”17

               Undisputed Facts Surrounding Defendant’s Care Custody, and Control
                                 of the Vessel and Prior Payments

          15.     It is undisputed that Defendant previously confirmed and afforded coverage on Mr.

  Stokes’ loss, despite Defendant’s current contention—now over two years after the loss—that it

  has not issued a coverage determination. Corporate Representative Depo, pp. 160:24-25,

  187:18-25.



 16
      Id.
 17
      Deposition of Justin Evenson, 94:20-95:15.

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 RESPONSE: Disputed. MAIC did not confirm coverage of Plaintiff’s claim at any time.

 The invoices paid by MAIC were paid directly to vendors, because Plaintiff refused to remit

 payment for invoices related to the salvage, towing, and storage of the Vessel.18 He allowed

 several invoices to fall into arrears, which would have prejudiced MAIC’s ability to

 investigate and obtain access to the Vessel.19 MAIC has neither conceded liability for

 Plaintiff’s loss, nor made any direct payments to Plaintiff for his claimed loss. Further,

 MAIC issued a “Notice of Disclaimer of Coverage” to Plaintiff on August 19, 2021.20

         16.   It is undisputed that Defendant ordered the Vessel raised and towed from the site

  of the loss (Mr. Stokes’ slip) to the marina of Defendant’s choice, Indian River Marina, located

  in Delaware Seashore State Park, where, upon information and belief, the Vessel remains to this

  day.

 RESPONSE: Disputed. Mr. Stokes and his neighbor, who notified him of the sinking,

 directed the recovery of the boat through Boat US.21 Mr. Stokes then orchestrated the

 raising and towing.22 Further, the Klopman report is clear that the Vessel was simply

 “towed over to the closest marina, Indian River Marina in Rehoboth Beach DE.”23

         17.   It is undisputed that significant raising and salvage costs, totaling over five-figures,

  were incurred due to Defendant’s actions and upon Defendant’s requests and agreement. See

  Klopman Report, Ex. “E,” p. 2 of 21 (regarding salvage efforts).




 18
    See Exhibits H through K to Plaintiff’s Opening Brief in Support of his Motion for Summary
 Judgment.
 19
    Id.
 20
    Exhibit A- Notice of Disclaimer of Coverage, dated August 19, 2021.
 21
    Exhibit B (attached to this Statement)- Claims File Production, at MARKEL 000003, 000249.
 22
    Exhibit B- Claims File Production, at MARKEL 000003, 000249.
 23
    Exhibit 3 to MAIC’s Opening Brief - Klopman Damage Survey, page 2.

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 RESPONSE: Disputed. Mr. Stokes and his neighbor, who notified him of the sinking,

 directed the recovery of the boat through Boat US.24 Mr. Stokes then orchestrated the

 raising and towing.25 Further, the Klopman report is clear that the Vessel was simply

 “towed over to the closest marina, Indian River Marina in Rehoboth Beach DE.”26

          18.   It is undisputed that Defendant MARKEL has paid coverage amounts and expenses

 in excess of the $15,199.00 for raising, salvage, and tow costs, including but not limited to at least

 the following amounts:

      •   Indian River Marina Invoice No. 12756, dated October 12, 2018, totaling $1,320.50 in fees

           and costs incurred due to MARKEL’s post-loss demands, paid by MARKEL.

      •   Indian River Marina Invoice No. 12853, dated November 27, 2018, totaling $663.00 in

           fees and costs incurred due to MARKEL’s post-loss demands, paid by MARKEL.

      •   Indian River Marina Invoice No. 13495, dated June 6, 2019, totaling $1,600.00 in fees and

           costs incurred due to MARKEL’s post-loss demands, paid by MARKEL.

      •   Indian River Marina Invoice No. 13617, dated July 1, 2019, totaling $360.75 in fees and

           costs incurred due to MARKEL’s post-loss demands, paid by MARKEL.

      •   Indian River Marina Invoice No. 13722, dated July 19, 2019, totaling $575.25 in fees and

           costs incurred due to MARKEL’s post-loss demands, paid by MARKEL.

      •   Indian River Marina Invoice No. 14168, dated October 24, 2019, totaling $360.75 in fees

           and costs incurred due to MARKEL’s post-loss demands, paid by MARKEL.

      •   Johnny Shine Invoice No. 501, dated July 29, 2019, totaling $400.00 in fees and costs

           incurred due to MARKEL’s post-loss demands, paid by MARKEL.



 24
    Exhibit B- Claims File Production, at MARKEL 000003, 000249.
 25
    Exhibit B- Claims File Production, at MARKEL 000003, 000249.
 26
    Exhibit 3 to MAIC’s Opening Brief - Klopman Damage Survey, page 2.

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      •   Further expenses incurred as a result of the Vessel loss, including additional invoices from

           Indian River Marina paid by Defendant. Upon information and belief, Plaintiff’s Vessel

           remains located at Indian River Marina to this day.

 Please see the above Invoices, attached as Composite Exhibit “H.

 RESPONSE: Disputed. MAIC has paid various invoices related to the towing, salvage, and

 storage of the Vessel, because Plaintiff refused to remit payment for invoices related to the

 salvage, towing, and storage of the Vessel.27 He allowed several invoices to fall into arrears,

 which would have prejudiced MAIC’s ability to investigate and obtain access to the Vessel.28

 However, MAIC disputes the characterization that these fees and costs were “incurred due

 to MARKEL’S post-loss demands[.]”

          19.    It is undisputed that on October 31, 2018, Defendant did make an indemnity

  payment to Indian River Marina pertaining to the storage fees, costs, and service fees incurred by

  Mr. Stokes after the subject loss, and at the direction of Defendant. See email Correspondence

  Between Mr. Stokes and Mr. Evenson – Def.’s Claims Examiner, dated October 31, 2018, attached

  as Exhibit “I.”

 RESPONSE: Disputed. MAIC has paid various invoices related to the towing, salvage, and

 storage of the Vessel, because Plaintiff refused to remit payment for invoices related to the

 salvage, towing, and storage of the Vessel.29 He allowed several invoices to fall into arrears,

 which would have prejudiced MAIC’s ability to investigate and obtain access to the Vessel.30




 27
    See Exhibits H through K to Plaintiff’s Opening Brief in Support of his Motion for Summary
 Judgment.
 28
    Id.
 29
    See Exhibits H through K to Plaintiff’s Opening Brief in Support of his Motion for Summary
 Judgment.
 30
    Id.

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  However, MAIC disputes the characterization that these payments were “indemnity”

  payments.

          20.   It is further undisputed that Defendant has made a number of additional indemnity

   payments on behalf of Mr. Stokes, including but not limited to additional indemnity payments

   issued on invoices from Indian River Marina, continuing to this day. Please see Email

   Correspondence Between Ms. DeFelice of Indian River Marina and Mr. Varnell – Def.’s Claims

   Manager, dated January 28, 2019, attached as Exhibit “J.” See Correspondence from Defendant’s

   Counsel, Ms. Rivera, dated November 18, 2019, attached as Exhibit “K.”

  RESPONSE: Disputed. MAIC has paid various invoices related to the towing, salvage, and

  storage of the Vessel, because Plaintiff refused to remit payment for invoices related to the

  salvage, towing, and storage of the Vessel.31 He allowed several invoices to fall into arrears,

  which would have prejudiced MAIC’s ability to investigate and obtain access to the Vessel.32

  However, MAIC disputes the characterization that these payments were “indemnity”

  payments.

          21.   It is undisputed that Defendant refused to allow Mr. Stokes to transport his Vessel

   out of the Indian River Marina to a location more suitable to Mr. Stokes, proving that Defendant

   assumed ownership, care, custody, and control over the damaged Vessel. See Correspondence

   from Defendant’s counsel, dated July 1, 2019, p. 2, attached as Exhibit “L.”

  RESPONSE: Disputed. MAIC had the Vessel towed to the nearest marina, to allow for

  access by all parties pertinent to investigating Plaintiff’s claim. MAIC further disputes that

  it has assumed ownership, care, custody, and control over the Vessel. The Vessel is still



  31
     See Exhibits H through K to Plaintiff’s Opening Brief in Support of his Motion for Summary
  Judgment.
  32
     Id.

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  owned by Plaintiff, and MAIC has only taken the steps necessary to investigate Plaintiff’s

  claim and litigate this matter.

          22.    It is undisputed that Defendant had previously confirmed coverage but now argues,

   over 33 months after the loss, that it still has not formulated any official “coverage position.”

   Corporate Representative Depo, pp. 160:24-25, 187:18-25.

  RESPONSE: Disputed. MAIC has never confirmed coverage of this claim. It issued a

  Reservation of Rights letter on November 12, 2018, and a Notice of Disclaimer of Coverage

  on August 19, 2021.

          23.    It is undisputed that the subject policy provides for $750 in “Emergency Towing

  and Assist” coverage, and that Defendant’s payments greatly exceeded this figure. Defendant

  issued payments totaling at least $5,280.25 for invoices and at least $15,199.00 for raising, salvage,

  and towing. Defendant thereby treated the subject loss as a covered loss.

  RESPONSE: Disputed. MAIC disputes Plaintiff’s characterization of its payments. The

  Policy does not indicate that any payments made by MAIC are with prejudice.33 Further,

  MAIC reserved its rights to investigate the claim and make payments to vendors in its

  Reservation of Rights letter.34 In fact, MAIC remitted payment because Plaintiff refused to

  do so.35 He allowed several invoices to fall into arrears, which would have prejudiced

  MAIC’s ability to investigate his claims and obtain access to the Vessel.36 At no time has

  MAIC treated Plaintiff’s claim as a covered loss.




  33
     See generally Exhibit 6 to MAIC’s Opening Brief- Policy; Exhibit A to Plaintiff’s Opening
  Brief- Deposition of Katherine Christodoulatos, 113:4-115:3.
  34
     Exhibit 4 to MAIC’s Opening Brief- Reservation of Rights letter.
  35
     See Exhibits H through K to Plaintiff’s Opening Brief in Support of his Motion for Summary
  Judgment.
  36
     Id.

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          24.    It is undisputed that Defendant issued payment for invoices related to the post-loss

  work and storage of the Vessel, which Defendant is only required to do in the event of a “covered

  loss.” Subject Policy, p. 8, Ex. “B.”

  RESPONSE: Disputed. Presumably Plaintiff is referring to a “Protect and Recover” clause

  in the Policy, which is a subsection of “Loss Conditions,” not “Coverage” which is the

  previous section.37 This section states:




  MAIC disputes Plaintiff’s interpretation of this section. This section does not state that

  MAIC is “only required” to cover post-loss hauling, salvage, or storage. It only states what

  Plaintiff must do to prevent further loss to the Vessel. All payments by MAIC were made

  without waiver, subject to its Reservation of Rights letter, as a necessary measure to ensure

  access to the Vessel and complete its claim investigation. Prior to MAIC’s payments,

  Plaintiff refused to remit payment for invoices related to the salvage, towing, and storage

  of the Vessel.38 He allowed several invoices to fall into arrears, which would have prejudiced

  MAIC’s ability to investigate and obtain access to the Vessel.39




  37
     Exhibit 6 to MAIC’s Opening Brief - Policy, at pages 5-9.
  38
     See Exhibits H through K to Plaintiff’s Opening Brief in Support of his Motion for Summary
  Judgment.
  39
     Id.

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                                             WHITE AND WILLIAMS LLP

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